        Case 3:18-md-02843-VC Document 1069 Filed 10/20/22 Page 1 of 6




 Derek W. Loeser (admitted pro hac vice)        Orin Snyder (admitted pro hac vice)
 KELLER ROHRBACK L.L.P.                         GIBSON, DUNN & CRUTCHER LLP
 1201 Third Avenue, Suite 3200                  200 Park Avenue
 Seattle, WA 98101                              New York, NY 10166-0193
 Tel.: (206) 623-1900                           Tel.: 212.351.4000
 Fax: (206) 623-3384                            Fax: 212.351.4035
 dloeser@kellerrohrback.com                     osnyder@gibsondunn.com

 Lesley E. Weaver (SBN 191305)                  Joshua S. Lipshutz (SBN 242557)
 BLEICHMAR FONTI & AULD LLP                     GIBSON, DUNN & CRUTCHER LLP
 555 12th Street, Suite 1600                    1050 Connecticut Avenue, N.W.
 Oakland, CA 94607                              Washington, DC 20036-5306
 Tel.: (415) 445-4003                           Tel.: 202.955.8500
 Fax: (415) 445-4020                            Fax: 202.467.0539
 lweaver@bfalaw.com                             jlipshutz@gibsondunn.com

 Plaintiffs’ Co-Lead Counsel                    Attorneys for Defendant Facebook, Inc.
 Additional counsel listed on signature page    Additional counsel listed on signature page


                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                             SAN FRANCISCO DIVISION




IN RE: FACEBOOK, INC. CONSUMER                      CASE NO. 3:18-MD-02843-VC
PRIVACY USER PROFILE LITIGATION,
                                                    STIPULATION AND [PROPOSED]
                                                    ORDER FOR EXTENSION OF TIME TO
This document relates to:                           SUBMIT MOTION FOR PRELIMINARY
                                                    APPROVAL OF CLASS ACTION
ALL ACTIONS                                         SETTLEMENT




     STIPULATION AND [PROPOSED] ORDER FOR EXTENSION OF TIME TO SUBMIT SETTLEMENT AGREEMENT
                                   CASE NO. 3:18-MD-02843-VC
        Case 3:18-md-02843-VC Document 1069 Filed 10/20/22 Page 2 of 6



       By and through their respective undersigned counsel, the parties submit this joint request

for a short extension of time to finalize a written class action settlement agreement and submit it

to the Court for preliminary approval.

       1.      Whereas, on August 26, 2022, the parties notified the Court that they had reached

a settlement in principle of the consolidated action In re: Facebook, Inc. Consumer Privacy User

Profile Litigation, Case No. 3:18-md-02843-VC (the “Action”) and requested a stay of the Action

for 60 days to allow them to finalize a written settlement agreement and present it to the Court for

preliminary approval (Dkt. 1014);

       2.      Whereas, on August 26, 2022, the Court granted that request in part, staying all
deadlines except for a hearing on Plaintiffs’ sanctions motion (Dkt. 1015);

       3.      Whereas, the parties have been working diligently and have made significant

progress, and have determined that they need additional time to finalize a written settlement

agreement and submit it to the Court for preliminary approval;

       NOW, THEREFORE, THE PARTIES JOINTLY REQUEST, through their respective

counsel, that the stay of the Action remain in effect and that they have until December 16, 2022,

to finalize a written settlement agreement and present to the Court for preliminary approval.

Dated: October 19, 2022                                  Respectfully submitted,


KELLER ROHRBACK L.L.P.                                   BLEICHMAR FONTI & AULD LLP

By:    Derek W. Loeser                                   By:     Lesley E. Weaver
       Derek W. Loeser                                           Lesley E. Weaver

Derek W. Loeser (admitted pro hac vice)                  Lesley E. Weaver (SBN 191305)
Cari Campen Laufenberg (admitted pro hac vice)           Anne K. Davis (SBN 267909)
David Ko (admitted pro hac vice)                         Matthew S. Melamed (SBN 260272)
Adele A. Daniel (admitted pro hac vice)                  Angelica M. Ornelas (SBN 285929)
Benjamin Gould (SBN 250630)                              Joshua D. Samra (SBN 313050)
Emma M. Wright (admitted pro hac vice)                   555 12th Street, Suite 1600
1201 Third Avenue, Suite 3200                            Oakland, CA 94607
Seattle, WA 98101                                        Tel.: (415) 445-4003
Tel.: (206) 623-1900                                     Fax: (415) 445-4020
Fax: (206) 623-3384                                      lweaver@bfalaw.com

                                                 1
      STIPULATION AND [PROPOSED] ORDER FOR EXTENSION OF TIME TO SUBMIT SETTLEMENT AGREEMENT
                                    CASE NO. 3:18-MD-02843-VC
       Case 3:18-md-02843-VC Document 1069 Filed 10/20/22 Page 3 of 6




dloeser@kellerrohrback.com                             adavis@bfalaw.com
claufenberg@kellerrohrback.com                         mmelamed@bfalaw.com
dko@kellerrohrback.com                                 aornelas@bfalaw.com
adaniel@kellerrohrback.com                             jsamra@bfalaw.com
bgould@kellerrohrback.com
ewright@kellerrohrback.com

Christopher Springer (SBN 291180)
801 Garden Street, Suite 301
Santa Barbara, CA 93101
Tel.: (805) 456-1496
Fax: (805) 456-1497
cspringer@kellerrohrback.com

Eric Fierro (admitted pro hac vice)
3101 North Central Avenue, Suite 1400
Phoenix, AZ 85012
Tel: (602) 248-0088
Fax: (602) 248-2822
efierro@kellerrohrback.com



 DATED: October 19, 2022                          Respectfully submitted,

                                                  GIBSON, DUNN & CRUTCHER, LLP

                                                  By: Rosemary T. Ring
 Deborah Stein (SBN 224570)                       Orin Snyder (pro hac vice)
 dstein@gibsondunn.com                            osnyder@gibsondunn.com
 333 South Grand Avenue                           GIBSON, DUNN & CRUTCHER LLP
 Los Angeles, CA 90071-3197                       200 Park Avenue
 Telephone: 213.229.7000                          New York, NY 10166-0193
 Facsimile: 213.229.7520                          Telephone: 212.351.4000
                                                  Facsimile: 212.351.4035
 Rosemarie T. Ring (SBN 220769)
 rring@gibsondunn.com                             Joshua S. Lipshutz (SBN 242557)
 Kristin A. Linsley (SBN 154148)                  jlipshutz@gibsondunn.com
 klinsley@gibsondunn.com                          GIBSON, DUNN & CRUTCHER LLP
 Martie Kutscher (SBN 302650)                     1050 Connecticut Avenue, N.W.
 mkutscherclark@gibsondunn.com                    Washington, DC 20036-5306
 GIBSON, DUNN & CRUTCHER LLP                      Telephone: 202.955.8500
 555 Mission Street, Suite 3000                   Facsimile: 202.467.0539
 San Francisco, CA 94105-0921
 Telephone: 415.393.8200                          Russell H. Falconer (pro hac vice)
 Facsimile: 415.393.8306                          rfalconer@gibsondunn.com
                                                  2100 McKinney Avenue, Suite 1100
                                              2
     STIPULATION AND [PROPOSED] ORDER FOR EXTENSION OF TIME TO SUBMIT SETTLEMENT AGREEMENT
                                   CASE NO. 3:18-MD-02843-VC
       Case 3:18-md-02843-VC Document 1069 Filed 10/20/22 Page 4 of 6




                                                 Dallas, TX 75201
                                                 Telephone: 214.698.3170
                                                 Facsimile: 214.571.2958

Attorneys for Defendant Facebook, Inc.


PURSUANT TO STIPULATION, IT IS SO ORDERED.




       October 20, 2022
DATE: ____________________                        __________        ____________________

                                                  VINCE CHHABRIA
                                                  United States District Judge




                                             3
    STIPULATION AND [PROPOSED] ORDER FOR EXTENSION OF TIME TO SUBMIT SETTLEMENT AGREEMENT
                                  CASE NO. 3:18-MD-02843-VC
        Case 3:18-md-02843-VC Document 1069 Filed 10/20/22 Page 5 of 6



                                SIGNATURE ATTESTATION

       Pursuant to Local Rule 5-1(i)(3), I attest that concurrence in the filing of this document

has been obtained.

Dated: October 19, 2022                                     By: Derek Loeser
                                                                Derek Loeser




     STIPULATION AND [PROPOSED] ORDER FOR EXTENSION OF TIME TO SUBMIT SETTLEMENT AGREEMENT
                                   CASE NO. 3:18-MD-02843-VC
        Case 3:18-md-02843-VC Document 1069 Filed 10/20/22 Page 6 of 6



                                CERTIFICATE OF SERVICE

       I, Sarah Skaggs, hereby certify that on October 19, 2022, I electronically filed the forego-

ing with the Clerk of the United States District Court for the Northern District of California using

the CM/ECF system, which shall send electronic notification to all counsel of record.

                                                             By: Sarah Skaggs
                                                                 Sarah Skaggs




      STIPULATION AND [PROPOSED] ORDER FOR EXTENSION OF TIME TO SUBMIT SETTLEMENT AGREEMENT
                                    CASE NO. 3:18-MD-02843-VC
